Case 8:20-cv-00993-MCS-ADS Document 310-3 Filed 02/28/22 Page 1 of 5 Page ID
                                #:14243




                           EXHIBIT

                              TAB 2
Case 8:20-cv-00993-MCS-ADS Document 310-3 Filed 02/28/22 Page 2 of 5 Page ID
                                #:14244




      TAB 2: TABLE OF SERVICE OF COMPLAINT AND SUBPOENA FEES

      Date                       Description                   Amount        Supporting
                                                                             Material
                                     Service of Process Fees
                                          (Complaint)
    7/6/2020   Service of Complaint on Defendant Samsung,a $965.90         See Tab 2-A.
               Korean corporation, which service was required
               in Korea via procedures outlined and required
               by the Hague Convention, $965.90.
                                     Service of Process Fees
                                          (Subpoenas)
   7/9/2021    Service of a deposition subpoena to nonparty    $711.45     See Tab 2-B.
               witness Steven Metz, $711.45 (which
               required six service attempts)
   10/1/2021   Service of a trial subpoena to witness Neal     $378.69     See Tab 2-C.
               Knuth, $378.69 (the service fee only is
               requested in this category; the advanced
               witness fee and mileage is listed separately
               under Tab 6 below).
   Subtotal                                                    $1,090.14
           Case 8:20-cv-00993-MCS-ADS Document 310-3 Filed 02/28/22 Page 3 of 5 Page ID
                                           #:14245
                                                                                                                          INVOICE
                                                                                                                     Invoice No.            Customer No.
                                                                                            *** REPRINT ***              52675                   96037
                                                                                                                     Invoice Date           Total Due
                                                                                                                         7/31/20                  965.90
            TAX ID# XX-XXXXXXX




            GIBSON DUNN & CRUTCHER (L)- LA
            ATTN: Mayra De Leon                                                                          BILLING/PAYMENT QUESTIONS
            333 S. GRAND AVENUE, RM 4629                                                                 CLIENT CARE (877)350-8698
            LOS ANGELES, CA 90071




                                         Customer No.   Invoice No.      Period Ending     Amount Due    Pg

                                              96037            52675           7/31/20         965.90     1
  Date     Ordr No.     Svc                                     Service Detail                                                 Charges               Total

 7/06/20      101513    ISP   GIBSON DUNN & CRUTCHER (L)- LA            SAMSUNG ELECTRONICS CO., LTD          INVEST CHG:       895.00
                              333 SOUTH GRAND AVENUE                                                          PDF/SHIP :         70.90              965.90
International Process         LOS ANGELES      CA 90071
                              Caller: CAROLINE MONROY                   Comment: FORMAL/S. KOREA
                              129 SAMSUNG-RO
                              Signed: DELIVERED TO CTL AUTH             Ref: 66889-00003




                                                                                                   *** REPRINT ***                  Total           965.90




                                 INVOICE PAYMENT DUE UPON RECEIPT
           Case 8:20-cv-00993-MCS-ADS Document 310-3 Filed 02/28/22 Page 4 of 5 Page ID
                                           #:14246
                                                                                                                       INVOICE
                                                                                                                Invoice No.       Customer No.
                                                                                                                10416842               81450
                                                                                                                Invoice Date      Total Due
                                                                                                                    7/23/21          8,826.67
            TAX ID# XX-XXXXXXX




            Gibson Dunn & Crutcher (L)-DTLA
            333 SOUTH GRAND AVENUE                                                                     BILLING/PAYMENT QUESTIONS
            ROOM 4629                                                                                  CLIENT CARE (877)350-8698
            LOS ANGELES, CA 90071




                                           Customer No.   Invoice No.    Period Ending    Amount Due   Pg

                                                81450      10416842           7/23/21       8,826.67   21
  Date     Ordr No.   Svc                                      Service Detail                                              Charges         Total

 7/09/21    4706458   BIM     Gibson Dunn & Crutcher (L)-LA             STEVEN METZ                         Base Chg :      203.25
                              333 SOUTH GRAND AVENUE                    20620 KOMINA AVE.                   Addt'lChgs:     508.15
PROCESS-BRANCH IMMEDIATE      LOS ANGELES       CA 90071                SARATOGA          CA 95070          Misc      :      18.24-
                              Caller: Marissa Mulligan                  Comment: 6 attempts                 Fuel Chg :       18.29        711.45
                              8:20-CV-00993 -MCS-DFM                    Pages:    3
                              NETLIST V SAMSUNG
                              SUBPOENA TO TESTIFY
                              PLEASE SERVE
                              Signed: Steven Metz                       Ref: 66889-00003 M MULLIGAN


 7/21/21    4716221   PDF     Gibson Dunn & Crutcher (L)-LA             USDC-SANTA ANA                      Base Chg   :       46.75
                              333 SOUTH GRAND AVENUE                    411 WEST 4TH STREET                 PDF/Ship   :       62.00
PDF COURTESY DEL.-RUSH        LOS ANGELES       CA 90071                SANTA ANA        CA 92701           Misc       :        2.72-     106.03
                              Caller: Lorelei Gerdine
                              20-CV-00993                               Pages:   149
                              NETLIST V SAMSUNG
                              MOTION TO COMPEL
                              PLEASE DELIVER
                              Signed: CHAMBERS                          Ref: 66889-00003 M MULLIGAN


 7/21/21    4716342   PDF     Gibson Dunn & Crutcher (L)-LA          USDC-SANTA ANA                         Base Chg   :       46.75
                              333 SOUTH GRAND AVENUE                 411 WEST 4TH STREET                    PDF/Ship   :       16.00
PDF COURTESY DEL.-RUSH        LOS ANGELES       CA 90071             SANTA ANA        CA 92701              Misc       :        1.57-      61.18
                              Caller: Lorelei Gerdine
                              20-CV-00993                            Pages:    57
                              NETLIST V SAMSUNG
                              DECLARATION AND APPLICATION UNDER SEAL
                              PLEASE DELIVER
                              Signed: CHAMBERS                       Ref: 66889-00003 M MULLIGAN


                                  Total   Charges for Ref. - 66889-00003 M MULLIGAN:       878.66




                                 INVOICE PAYMENT DUE UPON RECEIPT
Case 8:20-cv-00993-MCS-ADS Document 310-3 Filed 02/28/22 Page 5 of 5 Page ID
                                #:14247
